     Case 2:07-cr-00087-WFN   ECF No. 203   filed 12/30/08   PageID.959 Page 1 of 1




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 5
                             UNITED STATES DISTRICT COURT
 6                          EASTERN DISTRICT OF WASHINGTON
 7
       UNITED STATES OF AMERICA,              )
 8                                            )     No. CR-07-087-WFN-1
                          Plaintiff,          )
 9                                            )     ORDER DENYING MOTION TO
       v.                                     )     EXPEDITE AND DENYING MOTION
10                                            )     TO RECONSIDER BAIL PENDING
       FREDERICK MANFRED SIMON,               )     SENTENCING
11                                            )
                          Defendant.          )
12                                            )

13          At the December 30, 2008, hearing on Defendant’s Motion to

14    Reconsider Bail Pending Sentencing, Defendant was present with

15    counsel    Joshua    Rosen.      Assistant     U.S.    Attorney    Tom   Hopkins

16    represented the United States. Mrs. Simon was present and addressed

17    the court.

18          The court finds Defendant has a pending warrant.                   As this

19    matter is post-conviction, Defendant bears the burden of persuasion

20    and has not met the burden.

21          IT IS ORDERED:

22          1.     The Motion to Expedite (Ct. Rec. 198) is DENIED.

23          2.     Defendant’s Motion to Reconsider (Ct. Rec. 196) is DENIED.

24          DATED December 30, 2008.

25
26                               S/ CYNTHIA IMBROGNO
                            UNITED STATES MAGISTRATE JUDGE
27
28
      ORDER DENYING MOTION TO EXPEDITE AND DENYING
      MOTION TO RECONSIDER BAIL PENDING SENTENCING - 1
